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                 IN THE UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ALTON LOGAN,                            )
                                        )
          Plaintiff,                    )
                                        )              Case No. 09 cv 5471
          v.                            )
                                        )
JON BURGE, GEORGE BASILE, FRED HILL,    )              Judge Bucklo
THOMAS MCKENNA, ANTHONY KATALINIC,      )
MICHAEL MCDERMOTT, JAMES PIENTA, JOSEPH )
DIGIACOMO, JAMES O’ROURKE, ALVIN        )
PALMER, CHARLES GRUENHARD, the CITY OF )
CHICAGO, and UNIDENTIFIED EMPLOYEES OF )
THE CITY OF CHICAGO,                    )
                                        )
               Defendants.              )              JURY TRIAL DEMANDED


                             AMENDED COMPLAINT


     NOW COMES Plaintiff, ALTON LOGAN, by his attorneys,

LOEVY & LOEVY, and complaining of Defendants, CITY OF CHICAGO,

JON BURGE, GEORGE BASILE, FRED HILL, THOMAS MCKENNA, ANTHONY

KATALINIC, MICHAEL MCDERMOTT, JAMES PIENTA, JOSEPH DIGIACOMO,

JAMES O’ROURKE, ALVIN PALMER, CHARLES GRUENHARD, and UNIDENTIFIED

EMPLOYEES of the CITY OF CHICAGO acting pursuant to the City’s
policies and practices (collectively, “Defendants”), alleges as

follows:
                                Introduction

            1.   In 1983, Alton Logan was convicted of a brutal

murder that he did not commit.         This wrongful conviction was the

result of misconduct by the Defendants, who conspired to build a

false case against him irrespective of his guilt or innocence.

            2.   Plaintiff served twenty-six years of wrongful

imprisonment before he was ultimately exonerated by physical
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evidence and eyewitness testimony, the results of which proved

that he was not the murderer.

           3.    Although Plaintiff has won back his freedom, he

will never regain the decades lost in his life.             This lawsuit

seeks redress for those injuries.
                         Jurisdiction and Venue

           4.    This action is brought pursuant to 42 U.S.C.

Section 1983 to redress the deprivation under color of law of

Plaintiff’s rights as secured by the United States Constitution.
           5.    This court has jurisdiction pursuant to 28 U.S.C.

§§ 1331, 1367.    Venue is proper under 28 U.S.C. § 1391(b).              The

parties reside in this judicial district, and the events giving

rise to the claims asserted herein occurred here as well.
                                The Parties

           6.    Plaintiff Alton Logan is a 56 year-old resident of

Chicago, Illinois.

           7.    Defendant City of Chicago is a municipal entity.

           8.    At all times relevant hereto, Defendants Jon
Burge, George Basile, Fred Hill, Thomas McKenna, Anthony

Katalinic, Michael McDermott, James Pienta, Joseph DiGiacomo,

James O’Rourke, Alvin Palmer, and Charles Gruenhard were police

officers in the Chicago police Department.            All are sued in their

individual capacities, and acted under color of law and within

the scope of their employment during the investigation of the

murder at issue.

           9.    Defendants Burge and Basile were two of


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Plaintiff’s arresting officers, and were two of the lead

investigators for the crime at issue.           Defendants Hill, McKenna,

Katalinic, McDermott, Pienta, DiGiacomo, O’Rourke, Palmer, and

Basile, all participated in the investigation.
                            The Crime At Issue

           10.   On January 11, 1982, Alvin Thompson, an off-duty

Cook County Sheriff’s Officer, and Lloyd Wickliffe, an off-duty

sergeant with the Cook County Department of Corrections, were

working as security guards at a McDonald’s restaurant at 11421
South Halsted in Chicago, Illinois.

           11.   At approximately 8:00 p.m. Mr. Thompson noticed a

black man, later identified as Edgar hope, Jr., causing a

disturbance at the register by repeatedly changing their orders.

Mr. Thompson and Mr. Wickliffe then proceeded to walk over to the

cashier, Antonette Dawson.

           12.   As the two guards neared the counter, a man walked

into the restaurant, hollering something which caused Mr.

Wickliffe to turn towards him.         As Mr. Wickliffe turned, the man
pulled a sawed-off shotgun out from underneath his long coat and

fired into Mr. Wickliffe’s chest.

           13.   When Mr. Wickliffe dropped to the floor, Hope ran

up to Mr. Thompson and knocked him to the floor.              As Mr. Thompson

lay on his back, he saw the man searching through Mr. Wickliffe’s

clothing and take Mr. Wickliffe’s gun.

           14.   Mr. Hope then took Mr. Thompson’s gun as well and

put it in his waistband.       Directly after taking the gun, Mr. Hope


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shot Mr. Thompson.

           15.   Mr. Wickliffe died immediately after being shot;

Mr. Thompson was treated at an area hospital, after which he was

interviewed by the Chicago Police Department, where he provided a

physical description of the attackers.
                         Defendants’ Misconduct

           16.   There was never any physical evidence tying

plaintiff to this crime.       None of his fingerprints or DNA were

found at the crime scene, nor was any incriminating evidence of
any kind ever discovered in his possession.

           17.   In fact, the only physical evidence found in this

case exclusively implicated Edgar Hope and Andrew Wilson.

           18.   Several weeks after the shooting, Mr. Hope killed

a Chicago Police Officer on a CTA bus in Chicago with the gun

that he had stolen from Mr. Thompson.

           19.   Additionally, the Chicago Police Department found

incriminating evidence linking Andrew Wilson to the McDonald’s

murder when they retrieved the shotgun used by Mr. Wilson to kill
Mr. Wickliffe in a beauty shop where Mr. Wilson was known to

stay.

           20.   Shortly before his death, the true murderer in

this case, Andrew Wilson, provided sworn testimony that revealed

facts never before known to Mr. Logan or his attorneys at the

time of Mr. Logan’s criminal trial.          Less than a week after Alton

Logan was arrested for murder in this case, Mr. Wilson and his

brother were involved in murdering two other police officers on


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the south side of Chicago.        Defendant Burge was the arresting

officer of Andrew Wilson for the murder of these Officers.                At

the time of his arrest, Mr. Wilson was in possession of the .38

caliber gun he had stolen from Mr. Wickliffe before killing him.

           21.    According to Mr. Wilson, Defendant Burge seized

the McDonald’s murder weapon from Mr. Wilson.             Defendant Burge,

in his scope of duty as a Chicago Police Department Officer,

failed to disclose this exculpatory evidence while Plaintiff lost

twenty-six years of his life.
           22.    Mr. Wilson was never charged with, or prosecuted

for this crime.     Instead, rather than continue to perform the

police work necessary to properly solve the crime, the Defendants

instead conspired among themselves and with others to shortcut

the process.     Specifically, the defendants unjustly singled out

the Plaintiff, who had already been accused of the crime, and

then endeavored to stretch and manipulate the facts and the

evidence to fit the false hypothesis that he was guilty.

           23.    Thomas Bennett, a licensed attorney and former
Chicago Police Department Detective, disclosed under oath that

Defendant Burge openly bragged about Mr. Logan being wrongfully

convicted and that the real murderer was Mr. Wilson.               Defendant

Burge had access to exculpatory evidence that would have

prevented Mr. Logan from being wrongfully deprived of twenty-six

years of his life in prison.        Not only did Defendant Burge

withhold such information from Mr. Logan and the court, but he

boasted about doing so.


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           24.   In that regard, the defendants manufactured

“evidence” that falsely implicated Plaintiff.             This fabrication

of evidence included, but was not limited to, unlawfully

manipulating witnesses, namely Anthonette Dawson and Charles

Trent, to falsely implicate Plaintiff by means of improper

suggestiveness and outright coercion, all of which violated

Plaintiff’s constitutional rights.          Both Dawson and Trent have

signed affidavits attesting to police this manipulation.

           25.   The Defendants also disregarded and/or destroyed
exculpatory evidence, to wit, police reports, notes, and

statements that should have been preserved along with the rest of

the Chicago Police Department’s files, but were not.               This

includes the missing set of street files and police reports

dealing with events that have never been disclosed to Plaintiff

or his attorneys.

           26.   For example, Defendants held a line-up that took

place at Cook County Jail.        The fact of this lineup was never

documented in any police reports turned over to Mr. Logan or his
defense team.    Had it been disclosed, it would have been

exculpatory.

           27.   The Defendants also deliberately and affirmatively

failed to disclose information pertaining to investigations that

established the guilt of individuals other than Plaintiff.

Consistent with that endeavor, Defendants unlawfully suppressed

information that would have implicated others and thereby

exonerated Plaintiff.


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            28.   The Defendants also withheld from the prosecutors

and from plaintiff other evidence that was both exculpatory and

material.    This unconstitutional conduct included, but was not

limited to, withholding knowledge of the existence of monetary

considerations made to key witness(es) in this and related cases,

the circumstances of which would have been exculpatory.

            29.   The identification procedures utilized by the

Defendants, both visual and voice, were unduly suggestive and

otherwise improper.      As a result of these unduly suggestive and
improper procedures, plaintiff was falsely identified, both prior

to and then again at trial.

            30.   As complaining witness(es), the Defendants also

testified falsely about Plaintiff’s purported guilt at

Plaintiff’s criminal trial.        Defendant Burge testified again at

Plaintiff’s sentencing hearing in support of the State’s effort

to secure the death penalty.
                        The Malicious Prosecution

            31.   In January of 1983, Plaintiff stood trial for the
murder of Lloyd Wickliffe.

            32.   Plaintiff testified in his own defense that he had

nothing to do with the crime, and his mother and brother provided

alibis confirming that he had not yet left the house at the time

that the murder was reported to have taken place.

            33.   Plaintiff was nonetheless convicted of murder,

attempted murder, and armed robbery, all as a proximate result of

the above-described misconduct on the part of the Defendants.


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But for Defendants’ misconduct, Plaintiff would have been neither

prosecuted nor convicted.

           34.   Following his wrongful conviction, Plaintiff was

sentenced to life without the possibility of parole.               His

post-trial motions and appeals, both state and federal, were

continuously denied.
                         Plaintiff’s Exoneration

           35.   Throughout his incarceration, Plaintiff pleaded

with the judicial system to hear evidence concerning his
innocence and Mr. Wilson’s guilt.

           36.   Mr. Wilson died in 2008.         Directly thereafter,

Dale Conventry and Jameson Kunz, Mr. Wilson’s former attorneys

from the Cook County Public Defender’s Office, disclosed to the

court that they had an affidavit pertaining to Plaintiff’s

innocence and Mr. Wilson’s guilt in this case.

           37.   Despite knowing the truth about who really

committed this crime, these lawyers were duty-bound to stand by

silently, even as Mr. Logan fruitlessly pressed his claims of
innocence over the years in the courts.

           38.   After a lengthy evidentiary hearing, Mr. Logan had

his conviction overturned.        Plaintiff was subsequently fully

exonerated when he was granted a Certificate of Innocence earlier

this year.
                           Plaintiff’s Damages

           39.   At the time he was wrongfully accused of murder,

Plaintiff was a 28 year-old man.           He lived at home with members


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of his family and worked hard to support them.

           40.   In serving more than twenty-six years behind bars,

Plaintiff was wrongfully deprived of nearly half of his life.

Plaintiff was stripped of the various pleasures of basic human

experience, which all free people enjoy as a matter of right.                    He

missed out on the ability to share holidays, births, funerals,

and other life events with loved ones, and the fundamental

freedom to live one’s life as an autonomous human being.

           41.   As a result of his wrongful incarceration,
Plaintiff must now attempt to rebuild his life outside of prison,

all without the benefit of the life experiences that ordinarily

equip adults for that task.
                         Policies and Practices:
                        Chicago’s “Street Files”

           42.   The unconstitutional withholding of exculpatory

information from Plaintiff’s defense in this case, as well as the

subsequent destruction of some of the same, was all undertaken

pursuant to, and proximately caused by, policies and practices on

the part of the Chicago Police Department.
           43.   Specifically, at all times relevant hereto,

members of the Chicago Police Department, including but not

limited to the Defendants in this action, systematically

suppressed Brady material by intentionally secreting discoverable

information in so-called “street files.”            As a matter of

widespread custom and practice, these clandestine street files

were routinely withheld from the State’s Attorney’s Office and

from criminal defendants and were subsequently destroyed.

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           44.    Consistent with the municipal policy and practice

described in the preceding paragraphs, employees of the City of

Chicago, including but not limited to the named Defendants,

concealed exculpatory evidence within street files which were

never disclosed to Plaintiff’s criminal defense team and which

have since been destroyed.        This withholding and destruction of

evidence which would have exonerated Plaintiff was undertaken

pursuant to the City’s policy and practice in the manner

described above.
           45.    The policy and practice described in the foregoing

paragraph was consciously approved at the highest policy-making

level for decisions involving the police department, and was a

proximate cause of the injuries suffered here by the Plaintiff.
                    Further Policies and Practices:
                         Malicious Prosecution

           46.    In addition to the foregoing, Plaintiff was also

the victim of, and his injuries were proximately caused by, a

policy and practice on the part of the City of Chicago to secure

false convictions through profoundly flawed investigations.
           47.    Specifically, throughout the 1970s and 1980s, and

continuing thereafter, a group of Chicago Police Officers under

the tutelage of Jon Burge, including some or all of the

Defendants herein, engaged in a systematic pattern of coercion,

fabrication of evidence, withholding of exculpatory information,

and other illegal tactics, the sum total of which completely

corrupted the investigative process.

           48.    This institutional desire to “solve” crimes more

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expediently regardless of guilt or innocence, in order to enhance

officers’ personal standing in the Department, was known to the

command personnel, who themselves participated in the practice.

           49.    The above-described widespread practices, so well-

settled as to constitute de facto policy in the Chicago Police

Department during the time period at issue, was able to exist and

thrive because municipal policymakers with authority over the

same exhibited deliberate indifference to the problem.

           50.    In addition to Plaintiff, there are now dozens of
other known victims of similar abuses, though there may well be

many more.    At least thirteen criminal defendants victimized by

this practice were wrongfully sentenced to death.

           51.    The widespread practices described in the

preceding paragraphs were allowed to take place because the City

declined to implement sufficient training and/or any legitimate

mechanism for oversight or punishment.            Indeed, the Department’s

system for investigating and disciplining police officers accused

of the type of misconduct which befell Plaintiff was, and is, for
all practical purposes, nonexistent.

           52.    Chicago police officers who manufactured criminal

cases against individuals such as Plaintiff had every reason to

know that they not only enjoyed de facto immunity from criminal

prosecution and/or Departmental discipline, but that they also

stood to be rewarded for closing cases no matter what the costs.

In this way, this system proximately caused abuses, such as the

misconduct at issue in this case.


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                       Count I -- 42 U.S.C. § 1983

                                 Due Process

           53.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           54.    As described more fully above, all of the

Defendants, while acting individually, jointly, and in

conspiracy, as well as under color of law and within the scope of

their employment, deprived Plaintiff of his constitutional right

to a fair trial.
           55.    In the manner described more fully above, the

Defendants and/or other Chicago employees and agents deliberately

withheld exculpatory evidence, as well as fabricated false

reports and other evidence, thereby misleading and misdirecting

the prosecution of Plaintiff.         These individuals also engaged in

the unduly suggestive identification procedures, as described

above.   Absent the totality of this misconduct, the prosecution

of Plaintiff could not and would not have been pursued.

           56.    The above-described misconduct directly resulted
in the unjust criminal conviction of Plaintiff, thereby denying

him his constitutional right to a fair trial, and a fair appeal

thereof, in violation of the Due Process Clause of the Fifth and

Fourteenth Amendment to the United States Constitution.

           57.    As a result of this violation of his

constitutional right to a fair trial, Plaintiff suffered

injuries, including, but not limited to, emotional distress, as

is more fully alleged above.


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           58.    The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.

           59.    The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago

Police Department in the manner described more fully above.                 In

this way, the City of Chicago violated Plaintiff’s rights through

the actions of its agents by maintaining policies and practices

that were the moving force driving the foregoing constitutional
violations.
                      Count II -- 42 U.S.C. § 1983

                           Malicious Prosecution

           60.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           61.    Defendants caused Plaintiff to be improperly

subjected to judicial proceedings for which there was no probable

cause.   These judicial proceedings were instituted and continued

maliciously, resulting in injury, and all such proceedings were
terminated in Plaintiff’s favor in a manner indicative of

innocence.

           62.    The Defendants identified above accused Plaintiff

of criminal activity knowing those accusations to be without

probable cause, and they made statements to prosecutors with the

intent of exerting influence to institute and continue the

judicial proceedings.

           63.    Statements of the Defendants regarding Plaintiff’s


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alleged culpability were made with knowledge that said statements

were false and perjured.        In so doing, the Defendants fabricated

evidence and withheld exculpatory information.

            64.   As a result of this malicious prosecution,

Plaintiff’s constitutional rights were violated, and he suffered

other injuries, including but not limited to loss of liberty, as

is more fully alleged above.

            65.   The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago
Police Department in the manner described more fully above.
                      Count III -- 42 U.S.C. § 1983

                           Failure to Intervene

            66.   Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

            67.   In the manner described above, during the

constitutional violations described above, one or more of the

Defendants and/or other unnamed Chicago Police Officers stood by

without intervening to prevent the misconduct.
            68.   As a result of the Defendants’ failure to

intervene to prevent the violation of Plaintiff’s constitutional

rights, Plaintiff suffered pain and injury, as well as emotional

distress.    These Defendants had a reasonable opportunity to

prevent this harm, but failed to do so.

            69.   The misconduct described in this Count was

objectively unreasonable and was undertaken intentionally with

willful indifference to Plaintiff’s constitutional rights.


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           70.    The misconduct described in this Count was

undertaken pursuant to Chicago’s policy and practice in the

manner described in preceding paragraphs.
                      Count IV -- 42 U.S.C. § 1983

             Conspiracy to Deprive Constitutional Rights

           71.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           72.    After the murder at issue, the Defendants reached

an agreement amongst themselves to frame Plaintiff for the crime,
and to thereby deprive Plaintiff of his constitutional rights,

all as described in the various Paragraphs of this Complaint.

           73.    Independently, before and after Plaintiff’s

convictions, each of the Defendants further conspired, and

continue to conspire, to deprive Plaintiff of exculpatory

materials to which he was lawfully entitled and which would have

led to his more timely exoneration of the false charges as

described in the various Paragraphs of this Complaint.

           74.    In this manner, the Defendants, acting in concert
with other unknown co-conspirators, including persons who are not

members of the Chicago Police Department, have conspired by

concerted action to accomplish an unlawful purpose by unlawful

means.

           75.    In furtherance of the conspiracy, each of the

co-conspirators committed overt acts and was an otherwise willful

participant in joint activity.




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           76.    As a direct and proximate result of the illicit

prior agreement referenced above, Plaintiff’s rights were

violated, and he suffered financial damages, as well as severe

emotional distress and anguish, as is more fully alleged above.

           77.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           78.    The misconduct described in this Count was

undertaken pursuant to the policy and practice of the Chicago
Police Department in the manner described more fully in preceding

paragraphs, and was tacitly ratified by policy-makers for the

City of Chicago with final policymaking authority.
                       Count V -- State Law Claim

                           Malicious Prosecution

           79.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           80.    Defendants caused Plaintiff to be improperly

subjected to judicial proceedings for which there was no probable
cause.   These judicial proceedings were instituted and continued

maliciously, resulting in injury, and all such proceedings were

terminated in Plaintiff’s favor in a manner indicative of

innocence.

           81.    Defendants accused Plaintiff of criminal activity

knowing those accusations to be without probable cause, and they

made statements to prosecutors with the intent of exerting

influence to institute and continue the judicial proceedings.


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           82.    Statements of the Defendants regarding Plaintiff’s

alleged culpability were made with knowledge that said statements

were false and perjured.        In so doing, the Defendants fabricated

evidence and withheld exculpatory information.

           83.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           84.    As a result of this misconduct, Plaintiff

sustained, and continues to sustain, injuries including pain and
suffering.
                       Count VI -- State Law Claim

           Intentional Infliction of Emotional Distress

           85.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           86.    The acts and conduct of the Defendants as set

forth above were extreme and outrageous.            The Defendants intended

to cause, or were in reckless disregard of the probability that

their conduct would cause, severe emotional distress to
Plaintiff, as is more fully alleged above.

           87.    Said actions and conduct did directly and

proximately cause severe emotional distress to Plaintiff, and

thereby constituted intentional infliction of emotional distress.

           88.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.




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           89.    As a proximate result of Defendants’ wrongful

acts, Plaintiff suffered damages, including severe emotional

distress and anguish, as is more fully alleged above.
                      Count VII -- State Law Claim

                              Civil Conspiracy

           90.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           91.    As described more fully in the preceding

paragraphs, Defendants, acting in concert with other known and
unknown co-conspirators, conspired by concerted action to

accomplish an unlawful purpose by unlawful means.

           92.    In furtherance of the conspiracy, Defendants

committed overt acts and were otherwise willful participants in

joint activity.

           93.    The misconduct described in this Count was

undertaken with malice, willfulness, and reckless indifference to

the rights of others.

           94.    As a proximate result of Defendants’ conspiracy,
Plaintiff suffered damages, including severe emotional distress

and anguish, as is more fully alleged above.
                      Count VIII -- 42 U.S.C. 1983

                              Equal Protection

           95.    Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           96.    As described more fully above, the Defendants

denied Plaintiff equal protection of the law.


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           97.    Specifically, these Defendants actively

participated in or personally caused misconduct in terms of

torturing minority criminal suspects in a manner calculated to

coerce confessions, suppressed or withheld evidence that minority

criminal suspects were routinely tortured to obtain coerced

confessions, and/or thwarted the investigation of said torture.

Said misconduct was motivated by racial animus and constituted

purposeful discrimination; it also affected minorities in a

grossly disproportionate manner vis-a-vis similarly-situated
Caucasian individuals.

           98.    As a result of this violation, Plaintiff, an

African-American male, suffered injuries, including but not

limited to emotional distress.

           99.    The misconduct by the Defendants described in this

Count was undertaken pursuant to the policy and practice of the

Chicago Police Department in the manner described more fully

above.
                       Count IX - State Law Claim

                            Respondeat Superior

           100. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           101. In committing the acts alleged in the preceding

paragraphs, each of the Defendant Officers were members of, and

agents of, the Chicago Police Department acting at all relevant

times within the scope of employment and under color of law.




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           102. Defendant City of Chicago is liable as principal

for all torts committed by its agents.
                        Count X - State Law Claim

                              Indemnification

           103. Each of the Paragraphs of this Complaint is

incorporated as if restated fully herein.

           104. Illinois law provides that public entities are

directed to pay any tort judgment for compensatory damages for

which employees are liable within the scope of their employment
activities.

           105. The Defendant Officers are or were employees of

the Chicago Police Department, who acted within the scope of

their employment in committing the misconduct described herein.



           WHEREFORE, Plaintiff, ALTON LOGAN, respectfully

requests that this Court enter judgment in his favor and against

Defendants, CITY OF CHICAGO, JON BURGE, GEORGE BASILE, FRED HILL,

THOMAS MCKENNA, ANTHONY KATALINIC, MICHAEL MCDERMOTT, JAMES
PIENTA, JOSEPH DIGIACOMO, JAMES O’ROURKE, ALVIN PALMER, and

CHARLES GRUENHARD, and other AS-YET UNIDENTIFIED CHICAGO POLICE

OFFICERS, awarding compensatory damages, costs, and attorneys’

fees against each of the Defendants, as well as any other relief

this Court deems appropriate.




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                                 JURY DEMAND

           Plaintiff, ALTON LOGAN, hereby demands a trial by jury

pursuant to Federal Rule of Civil Procedure 38(b) on all issues

so triable.



                                            RESPECTFULLY SUBMITTED:




                                            S/Russell Ainsworth
                                            Attorneys for Plaintiff




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